 

 

Case 1:16-cv-OO429-DCN Document 9 Filed 08/07/17 Page 1 of 1

QLOZ ‘ eq AoN uo se.l!dx;\ uo!ss!wwog KW `~\"`
oqep| eslog1e Bulpgseg
Ol»|l?p|_ 40 91918 9L|1 104 9!|anl N€lON

f )/’/?z,//Wy 0 W¢Z?7y/&/S\ '=::Y..

. , '», z€w-vvz(eoz)
° O\“m ° "` '=_ Lo;ea cu GSIOA

 

* ~@rj\ Ww> w

LLoz ‘oL Alnr wqu
Aepo; am eio;eq wo/v\s pue peqposqng

 

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90909L :JeqwnN aoueJe;au mo

'uo;;c)e aug 01 A),Jed e1Qu pure mea/§ uae;q§g; go eb`e eq),
Je/\o we g 'ps),oa,qe sam e:)!/uas ucng up /§;unoo am ug Je/\JQS essoon a we l ;eql aBpe\/v\ouxoe Aqejeq 1

'ZO.'.£S Cll ‘63!08 ‘0 LZQ wood ‘UOSJSMSP 'M OOL 19 93133§49

sam 301/uss pgeg 'aog;@ s_;eleue@ Aaumuv oqepi ;o ;;e'qsq uo ang/nas masse o), pezpoqlne uos;ad 2
1213an AauJonV Kz,ndeq ‘eue‘,q uepg 014‘23;@'1 ‘;ag!ag ang;:>un[u\ Jo; ;uge;dwog papuawv ‘suounung
aug ;0 segdo:) ann am EugJa/\!;ep )(q alamo s_|e)aua§) Kauaouv oqep| peweu ugul;/v\ eu), qa/\ggs

:1 ‘|Nd Oz:z ;e ‘/_L()z ‘L K|n[‘ ‘Aeppd uo gem lies pue asodap ‘uJo/ws /§;np Bugeq ou/v\ ‘»ug/\ "1 Aase>| ‘|

'aol=l=io s.'lvuaNa-s)
,\aNuolJ_v 0chn uo names eq 01 LLoz ‘./. /<mr u<> ;)Tl SL¢z/\J@S SSS:>OJd AlunOo-!u_ Aq pS/\!er>aa
( chv 30 )\iNno:)

SSZ

( OHVG| :lO `:`LLV.LS

909€9 C]l ‘S||ed U!N\.L
`| XOS `O 'd

seog,lo /v\e‘| le||n_~j
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f(S)w€pUS,-;GG ,;_eumnv 'Uepsg/V\ '9 aoue>J/v\€`]

GZV'AO“QL?L iJSCILUnN 9390

201/mas so ~Ll`/\vals=lv `S"

z(sm"“§a'd VgL-; eeoc auer pue uqo'p

OHVC|l :IO li)lHJ.SlCl
.LHI’\OS .LS!H.LS|G SE.LV.LS CE.L|ND

